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 1                                                      CHIEF JUDGE RICARDO S. MARTINEZ
 2
                                UNITED STATES DISTRICT COURT
 3
                               WESTERN DISTRICT OF WASHINGTON
 4                                       AT SEATTLE

 5
     UNITED STATES OF AMERICA,                         )   No. CR20-089-RSM
 6                                                     )
                       Plaintiff,                      )
 7                                                     )   ORDER GRANTING THE
                  v.                                   )   UNOPPOSED MOTION TO PROCEED
 8                                                     )   WITH GUILTY
     HECTOR HERNANDEZ-GARCIA,                          )   PLEA HEARING
 9                                                     )
                       Defendant.                      )
10                                                     )
11             THE COURT has considered the unopposed motion to proceed with guilty plea

12   hearing by teleconferencing and the files and records herein. The court finds that delays

13   in the ultimate disposition of this case would result in serious harm to the interest of

14   justice

15             Therefore, the Court GRANTS the motion and orders the parties to schedule a

16   teleconference plea hearing.

17             DONE this 18th day of September, 2020.

18
19
                                                      A
                                                      RICARDO S. MARTINEZ
20                                                    CHIEF UNITED STATES DISTRICT
                                                      JUDGE
21   Presented by:
22
     s/ Jesse Cantor
23   Assistant Federal Public Defender
     Attorney for Hector Hernandez-Garcia
24
25   /s/ Cecelia Gregson
     Assistant United States Attorney
26   by email authorization

       ORDER GRANTING THE UNOPPOSED                                 FEDERAL PUBLIC DEFENDER
       MOTION TO PROCEED WITH                                          1601 Fifth Avenue, Suite 700
       GULTY PLEA HEARING                                                Seattle, Washington 98101
       (USA v. Hernandez-Garcia / CR20-089-RSM) - 1                                 (206) 553-1100
